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              IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE DISTRICT OF SOUTH CAROLINA
                              GREENWOOD DIVISION


 UNITED STATES OF AMERICA,                )             CR. NO. 8:18CR484
                                          )
                   vs.                    )           MOTION FOR A
                                          )        DOWNWARD DEPARTURE
 ANTHONY DANTE HOLLOWAY                   )            OR VARIANCE
                                          )

      Now comes the Defendant, Anthony Dante Holloway, (Holloway), by and

through his attorney, and respectfully asks this Court to impose a sentence below

the recommended guidelines range of 111 to 123 months’ imprisonment.

      Holloway has filed one objection to the Presentence Investigation Report

(PSR) regarding the classification of his prior conviction under South Carolina Code

Section 44-53-370 as a “Controlled Substance Offense” and the enhancement of his

base offense level under the United States Sentencing Commission Guidelines

Manual (USSG) §2K2.1, and has filed a Sentencing Memorandum in support of that

objection. If the objection is overruled, his guidelines total offense level on counts

one and two is 22 and his guidelines criminal history category is III, resulting in a

recommended combined guideline imprisonment range of 111 to 123 months for all

three counts of this indictment. PSR ¶81. If the objection is sustained, Holloway’s

total offense level on counts one and two would be 16, and his recommended

combined guideline range would be 87 to 93 months on the three counts of this

indictment. Holloway contends that the provisions of USSG § 4A1.3(b)(1)

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(Departures Based on Inadequacy of Criminal History Category), USSG § 5K2.0

(Mitigating Circumstances), and 18 U.S.C. §3553(a), as applied to the circumstances

of this case and his personal history and characteristics justify this court in

sentencing him below the applicable guideline range.

      The nature and circumstances of the offense should be considered in

determining an appropriate sentence, pursuant to 18 U.S.C. §3553(a)(1). In this

case, Holloway was a passenger in a car driven by his cousin. Police initiated a

traffic stop of the vehicle because they saw Holloway in the car and knew that a

warrant was outstanding for his arrest. See PSR ¶15. No traffic violations were

observed, and no violence or threatening behavior was alleged. After Holloway was

arrested on the warrant, he told police that the drugs recovered from the driver’s

pocket and the gun recovered from the glove box belonged to him, taking full

responsibility for the contraband. See PSR ¶20. Holloway made no attempt to resist

the officers and was cooperative at the time of his arrest.

      Holloway’s history and characteristics should be considered in determining

an appropriate sentence, pursuant to 18 U.S.C. §3553(a)(1). Holloway was born and

raised in Greenwood, South Carolina, and has lived there his entire life. PSR ¶¶65-

67. In 2010, Holloway suffered a gunshot wound, which had a significant impact on

Holloway’s life in two important ways: (1) it eroded his sense of security and placed

him in fear for his life, and (2) it began a now-eight-year addiction to opioid pain

medication. At the time of his arrest in this case, Holloway told arresting officers

that he carries a firearm because he doesn’t want to get killed in the streets; he
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keeps it with him for self-defense purposes. See PSR ¶20. Although Holloway

understands that his desire to keep a firearm with him for general self-defense does

not justify his possession of a firearm as a convicted felon, he provides this

explanation for his behavior.

      As for Holloway’s addiction to opioid medication, he started using these

medications when he received a prescription after he was shot. He quickly became

addicted, and has been a daily user of these pills for eight years. Holloway is also a

frequent user of marijuana, alcohol, and ecstasy, and finds himself needing these

substances to carry on in his daily life. See PSR ¶71. For Holloway, the use of these

drugs is no longer a choice; his mind and his body now depend on the continued

ingestion of these substances to get through each day. This addiction to controlled

substances, and the associated impairment caused by frequent and prolonged use of

these type of drugs, has adversely affected Holloway’s ability to make good decisions

for himself and played a large role in his involvement in the instant offense.

      Holloway is extremely remorseful and regrets that he allowed himself to

become a hostage to his drug addiction. Holloway intends to engage in drug

treatment and counseling while serving his sentence in the Bureau of Prisons

(BOP), and he hopes that a term of sobriety while incarcerated will set the stage for

recovery and a sober life when he is released.

      Holloway has strong family ties and his close-knit family members all live in

close proximity to one another. Additionally, Holloway is now engaged to a woman

who has three young children; Holloway has a good relationship with these children
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and wants to be a good role model for them upon his release from BOP, which is a

strong incentive for him to stay sober and avoid anti-social peers and behaviors

after his release from custody. Holloway’s mother, stepfather, siblings, and fiancé

will be a strong support system for Holloway when he is released from the BOP.

      Although Holloway has prior felony convictions, his criminal history is non-

violent and consists of drug, traffic, and firearm possession charges – the types of

offenses commonly associated with drug users. Holloway has never been to prison

before; his longest continuous term of incarceration to date was a term of 144 days

served in pretrial detention at the county jail in Greenwood County in 2007, when

he was 18 years old. The prior conviction that has resulted in a 4-level increase in

Holloway’s base offense level and a 24- to 30-month increase in his guidelines

sentencing range was for an offense that carried a maximum possible penalty of five

years’ imprisonment, and for which Holloway was initially sentenced to a term of

probation.

      Some of the purposes of sentencing are “(A) to reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for the

offense; (B) to afford adequate deterrence to criminal conduct; [and] (C) to protect

the public from further crimes of the defendant.” 18 U.S.C. §3553(a)(2). Holloway

accepts responsibility for his conduct and understands and acknowledges the

seriousness of his conduct in this case. He admits that what he did was wrong, and

he has respect for the law and the prosecution of this charge. The seriousness of the

offenses of which he has been charged and convicted in federal court, including the
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five-year mandatory minimum penalty he now faces for count three of this

indictment, have certainly shown Holloway the error of his ways and the urgent

need to address the problem of his drug addiction, have promoted respect for the

law, and will well serve the goals of deterrence and protecting the public. Holloway

assures this court that he has learned his lesson and will not engage in this type of

conduct ever again.

      Holloway has definite, positive plans for the future, with the goal of serving

his BOP sentence wisely by taking advantage of educational and vocational training

opportunities in addition to the drug treatment program mentioned above.

Holloway dropped out of high school after completing the ninth grade, and plans to

work diligently to obtain his General Equivalency Diploma (GED) while serving his

sentence in this case. Additionally, Holloway hopes to have the opportunity to

participate in the vocational training programs at the BOP, as he is interested in

learning a trade that would make him more employable upon his release. Holloway

understands that he is at a turning point in his life, and these federal charges have

had a significant impact on his awareness of his situation, his desire to improve

himself, and his motivation to work toward making positive changes in his life.

      While this court is obliged to consider the sentencing guidelines range, it is

not required to impose a sentence within that range. The court must impose a

“reasonable sentence” that takes into consideration the sentencing guidelines as

well as the factors set forth in 18 U.S.C. §3553(a). In the event the court is not

inclined to grant a departure from the guidelines range for the reasons set forth
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above, Holloway requests the court to vary from the guidelines range based on the

factors found in §3553(a) for the same reasons.




WHEREFORE for the reasons stated above and as may be further supplemented

orally at his sentencing hearing, Holloway respectfully submits that the provisions

of USSG § 4A1.3(b)(1) (Departures Based on Inadequacy of Criminal History

Category), USSG §5K2.0 (Mitigating Circumstances), and 18 U.S.C. §3553(a), as

applied to the circumstances of this case and his personal history and

characteristics justify this court in sentencing him below the recommended

sentencing guideline range.



                                  Respectfully submitted,
                                  FEDERAL PUBLIC DEFENDER
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Greenville, South Carolina



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